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In The
Court of Appeals
For The
First District of Texas




NO. 01-09-00967-CV




IN RE TIMOTHY AGUILAR, Relator




Original Proceeding on Petition for Writ of Mandamus




MEMORANDUM OPINION 




By petition for writ of mandamus, relator, Timothy Aguilar, seeks relief
compelling the trial court to vacate its order granting the motion to compel arbitration
filed by the real party in interest.             
We deny the petition for writ of mandamus.      
&nbsp;
Per Curiam&nbsp;
&nbsp;
Panel consists of Chief Justice Radack and Justices Bland and Massengale.   

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